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 3
                               UNITED STATES DISTRICT COURT
 4                            EASTERN DISTRICT OF CALIFORNIA
 5
 6
     UNITED STATES OF AMERICA,     )
 7                                 )
                     Plaintiff     )                 1:06-CR-32 OWW
 8                                 )
          v.                       )
 9                                 )
     SYLVESTER KING,               )
10                                 )
                     Defendant     )            ORDER EXTENDING SURRENDER DATE
11   ______________________________)
12
          More time being required to obtain a designation, it is
13
     ordered that the defendants date to surrender to the designated
14
     facility, or to the United States Marshal in Fresno, is extended
15
     to November 16, 2006.
16
     IT IS SO ORDERED.
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     Dated: October 3, 2006                  /s/ Oliver W. Wanger
18   emm0d6                             UNITED STATES DISTRICT JUDGE
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